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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA               :    Hon. Jessica S. Allen
                                       :
      v.                               :    Mag. No. 21-8352 (JSA)
                                       :
JOHN KLEIN                             :    ORDER FOR A CONTINUANCE

      This matter having come before the Court on the joint application of

Rachael A. Honig, Acting United States Attorney for the District of New Jersey

(by Andrew Kogan and Anthony Torntore, Assistant United States Attorneys),

and defendant John Klein (by Kevin Carlucci, Assistant Federal Public

Defender), for an order granting a continuance of the proceedings in the above-

captioned matter from the date this Order is signed through February 6, 2022

to permit defense counsel the reasonable time necessary for effective

preparation in this matter and to allow the parties to discuss the charges, and

the defendant being aware that he has the right to have the matter submitted

to a grand jury within 30 days of the date of his arrest pursuant to Title 18,

United States Code, Section 3161(b); and the defendant, through his attorney,

having consented to the continuance; and for good and sufficient cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be

continued for the following reasons:

      (1) The parties wish to discuss the charges and the case further while

this case is on Complaint;

      (2) The defendant has consented to the aforementioned continuance;

      (3) The grant of a continuance will likely conserve judicial resources; and
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                                        2
      (4) Pursuant to Title 18, United States Code, Section 3161(h)(7), the ends

of justice served by granting the continuance outweigh the best interests of the

public and the defendant in a speedy trial.

      WHEREFORE, it is on this 10th day of December, 2021;

      ORDERED that this action be, and it hereby is, continued from the date

this Order is signed through February 6, 2022; and it is further

      ORDERED that the period from the date this Order is signed through

February 6, 2022 shall be excludable in computing time under the Speedy

Trial Act of 1974.


                                     HONORABLE Jessica S. Allen
                                     United States Magistrate Judge


Form and entry consented to:




Anthony Torntore
Andrew Kogan
Assistant U.S. Attorneys



Kevin Carlucci, Esq.
Counsel for Defendant John Klein
